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 Co-Counsel for the Official
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                                             :   UNITED STATES BANKRUPTCY COURT
 In the Matter of:                           :   FOR THE DISTRICT OF NEW JERSEY
                                             :   HONORABLE GLORIA M. BURNS
 SHAPES/ARCH HOLDINGS, L.L.C., et            :   CASE NO. 08-14631(GMB)
 al.,                                        :
                                             :                 (Jointly Administered)
                        Debtors.             :
                                             :                      Chapter 11
                                             :
                                             :   APPLICATION OF OFFICIAL
                                                 COMMITTEE OF UNSECURED
                                                 CREDITORS IN SUPPORT OF
                                                 ADMISSION OF ATTORNEY PRO HAC
                                                 VICE PURSUANT TO D.N.J. LBR 2090-1
                                                 AND LOC. CIV. R. 101.1


 TO:      HONORABLE GLORIA M. BURNS
          United States Bankruptcy Judge

          The Application of the Official Committee of Unsecured Creditors (the “Committee”) of

 Shapes/Arch Holdings L.L.C., et al. (the “Debtors”), by and through its co-counsel, Cole,


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 Schotz, Meisel, Forman & Leonard, P.A., for entry of an Order granting pro hac vice admission

 of Donna H. Lieberman, Esq. (“Ms. Lieberman”), respectfully represents as follows:

          1.       On March 16, 2008 (the “Filing Date”), the Debtors filed their respective

 voluntary petitions for relief under Chapter 11 of the Bankruptcy Code (the “Petitions”) and have

 continued in the management of their businesses and properties as debtors-in-possession

 pursuant to §§ 1107 and 1108 of the Bankruptcy Code.

          2.       On March 31, 2008, the Office of the United States Trustee for the District of

 New Jersey appointed the Committee. The Committee is represented by the law firms of

 Halperin Battaglia Raicht, LLP (“HBR”) and Cole, Schotz, Meisel, Forman & Leonard, P.A.

          3.       Ms. Lieberman is the one of the attorneys at HBR who has been primarily

 involved in this matter. Accordingly, because of her familiarity with the facts and

 circumstances, documents and strategy relevant to the Debtors’ cases, the Committee requests

 that Ms. Lieberman be allowed to appear pro hac vice on its behalf in the Debtors’ cases.

          4.       As set forth in the accompanying Certification of Ms. Lieberman, Ms. Lieberman

 is a member in good standing of the bar of the State of New York and is admitted to the United

 States District Court for the Southern and Eastern Districts of New York. Ms. Lieberman is not

 under suspension or disbarment by any court.

          5.       If admitted pro hac vice, Ms. Lieberman has represented that she will adhere to

 the disciplinary jurisdiction of this Court. Ms. Lieberman also will arrange with the New Jersey

 Lawyers’ Fund for Client Protection for payment of the applicable annual fee and shall pay the

 $150.00 fee required by L. Civ. R. 101.1(c)(3) for pro hac vice admission to this Court.




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          WHEREFORE, it is respectfully requested that the Court grant the Committee’s

 Application pursuant to D.N.J. LBR 2090-1 and L. Civ. R. 101.1(c) to admit Ms. Lieberman pro

 hac vice in this matter and such other relief as the Court deems just and appropriate.

                                                      Respectfully submitted,

                                                       COLE, SCHOTZ, MEISEL,
                                                       FORMAN & LEONARD, P.A.
                                                       Co-Counsel to the Official Committee of
                                                       Unsecured Creditors


                                                       By:      /s/ Michael D. Sirota
                                                                Michael D. Sirota
                                                                Ilana Volkov
                                                                Warren A. Usatine

 DATED: May 13, 2008




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